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E-MAIL: Jhlab@rwwsh. corti JAMES A. Wy (1836-2008)
(LOYO C RIGHAROSON, JR, (1924-2042):
RICHARD.L: RUSSMAN (1987-2044)
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October 28, 2022

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‘he ¢ Mr, apn 1h ie. Soh BR

| Re: American Zurich Insurance Company v.
J. Crisman Palnier, et al,

This létter Will serve as ty written report prepared at
your request regarding the allegations of breach; of. fiduciary
duty .and malpractice leveled against a. Crisman Palniex (“Palmer”)
by American. Zurich Insurance Company (“Zurich”). When I
reference. a. document as (“EX.”) in this letter, I am referring to
the deposition: exhibit designation of that dogument.

i a ' GENERAL BACKGROUND
! ;

fee th Ot oat grew up in rural South Dakota and graduated Erom.
Delmont. High School.in 1985, I attended Augustana University
(f/k/a Augustana College) in Sioux Falls, South Dakota, and
Syaebetae’ be 1989 with a Bachelor of Arts degree. ‘From 1992 to
T1995, I attended the University of South Dakota Schodl of ‘Law and.
earned a Juris Doctorate-in May, 1995, . . 4" s

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LAW OFFICES-RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 2 To: Jason Sutton Date: 10/28/22

_. Upon graduation, I practiced law with Lee Schoenbeck in
Webster, South Dakota. The focus of my practice was almost:
exclusively civil litigation. In the same timeframe (1996 to
2000), I served as the Day County State's Attorney and handled,
on a part-time basis, all of the criminal prosecutions in Day

County.

At some point in 1999, I left Webster and Mr.
Schoenbeck's firm and joined the Richardson Law Firm in Aberdeen.
I have practiced in the firm since then and my practice has
focused exclusively on civil litigation, with much of that
practice involving insurance-related matters.

I am licensed to practice law in the State of South
Dakota’s courts, the Federal District Court of South Dakota, the
Eighth Circuit Court of Appeals, and have been licensed in
various Tribal Courts throughout my career. Other than a cage
that was venued in the Standing Rock Sioux Tribal Court and. tried
in Ft. Yates, North Dakota, I have never tried a case outside of

South Dakota. .
SPECIFIC. BACKGROUND RELATED TO THIS CASE -AND QUALIFICATIONS

I have been involved in numerous bad faith cases over
the course of my career. Most of my involvement has been as a
defense attorney hired to defend insurers, self-insureds, or.
TPAs. I have also represented numerous plaintiffs in bad faith
cases and have acted:as:a mediator a number of times, assisting
with the settlement of bad faith claims,

I have tried bad faith cases to a jury in both Federal
and State court. Additionally, I- have handled numerous cases in
which: Mike Abourezk (“Abourezk”) was representing an adverse
party. I have tried at least one case where Abourezk was oppos-
ing counsel and have acted as co-counsel with Abourezk on at
least one bad faith matter. My involvement with Abourezk
stretches back about twenty years, and during that time I have
negotiated numerous settlements with him while acting as opposing
counsel’ for insurers-or similarly situated parties. I have: not
authored any publications relevant to my qualifications.

FRCP 26(a) (2) (B) (v) disclosure of prior. testimony

I have not, in the previous four (4) years, testified
as an expert at trial or deposition.

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LAW OFFIGES:RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 3 To: Jason Sutton Date: 10/28/22

FRCP 26(a) (2) (B) (vi) statement regarding compensation

I am being compensated for the time spent on this
matter.at the rate of $300 per hour, in addition, I will be
reimbursed for any out-of-pocket expenses I incur and will
Gollect 6.5% sales tax on any fees charged,

DOCUMENTS REVIEWED

I was retained by Jason Sutton, counsel for Palmer,’ to
express opinions about the relevant standard of care, the
efficacy of Palmer's representation of Zurich, and the opinions
expressed by Mr. Colin Campbell on behalf of Zurich, Other than
relevant case law, Statutes, or rules, the documents tf reviewed
related to the preparation of this report consist of the
Lollowing:

Lx Documents marked GPNA 1 - GPNA 12934

2 Documents marked Zurich 1 - Zurich 4580
Sige Deposition Transcripts of Conrad Nowak, Paris Glazer, Dawn
Wagner, Mike Abourezk and J. Crisman Palmer and associated

exhibits

4. The following captioned documents from the lawsuit;
Complaint, Answer, First Amended Complaint, Answer to
Amended Complaint, Second Amended Complaint, Answer to
Second Amended Complaint, Plaintiffs’ Initial Disclosures,
Defendants’ Initial Disclosures, Plaintiffs’ Responses to.
Requests for Admission, Defendanta’ Responses and Objections
to 1% Set of Interrogatories, Defendants’ Responses and
Objections to 2 Set of Interrogatories, Plaintiffs’
Responses to Requests for Production, Plaintiffs
Supplemental Responses to Palmer's Request No. 7, and
Plaintiffs’ Supplemental Answer to Interrogatory No. 13
(which includes within it the initial answer to that
interrogatory)

5 Opinion Letter of Colin F, Campbell dated September 30, .2022

 

1 The case in which Sutton represents Palmer is captioned

American Zurich Insurance Company, et. al. Plaintiffs v. J.
Crisman Palmer, et. al. Defendants, 5;:20-CV-05026-KES, District
Court for the District of South Dakota.

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LAW OFFICES-RIGHARDBON, WYLY, WISE, SAUCK & KIEB, LLP

Pg. 4 To: Jason Sutton Date: 10/28/22

OPINIONS RELATED TO ALLEGATIONS MADE BY PLAINTIFFS IDENTIFIED IN
THEIR ANSWER TO INTERROGATORY 13

Palmer’s counsel served an interrogatory on plaintiffs
requesting they identify each and every “act, error, or omission
{they] contend [Palmer or his firm] committed that is breach of
fiduciary duty or violation of the applicable standard of care,”
The interrogatory goes on to request, to the extent Zurich is
claiming a breach or violation is based upon “failure to include
an affirmative defense in the answer”, it tdentify which
defense(s) should have been pled and all facts that would have
supported the pleading of such defense(s), Since this inter-
.Yogatory appears to. comprehensively seek all allegations of
wrongdoing, I am using Zurich’s responses as a template for my

opinions,

A) Failing to Assert Applicable or Potentially Applicable
Affirmative Defenses Including the Underlying
Settlement’s Release, Failure to Exhaust the
Administrative Remedy, Res Judicata and Statute of
Limitations, ee Y

Zurich's first allegation is that Palmer breached the
Standard of care by failing to assert affirmative defenses in the
Answer he filed on behalf of Zurich. They identify four .
defenses. In my opinion, none of the defenses should have been
asserted by Palmer. In fact, asserting at‘ least one of them
would have created the potential for Abourezk to enhance hi
chance of a significant verdict at trial, ;

1. ra Asser elease

Release is an affirmative defense that must be pled, if
applicable to a case. In this case, it appears that Zurich is
taking the position that Palmer’s failure to plead it violated
the standard of care and harmed Zurich. The “release” Zurich is
referring to appears to be the settlement agreement entitled
Compromise and Settlement Agreement and Order for Approval that
was executed by the parties to the Worker's Compensation proceed-
ing and approved by the South Dakota Department of Labor on June

21,°2013. (Ex. 9),

. It appears even Zurich and its expert agree that
nothing in that document expresses an intent by the parties to
release the bad faith claims that formed the basis of the lawsuit
that Palmer defended, As a result, even Mr. Campbell believes

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LAW OFFICES-RICHARDSON, WYLY, WISE, SAUCK & HIEG, LLP

Pg. 5 To: Jason Sutton Date: 10/28/22

that, at best, it is “unclear whether the release encompassed all
or most of the damages asserted in the subsequent bad faith
action.” (Campbell Opinion Letter, p. 6), In other words, at
best, the agreement is ambiguous on the question of whether the
parties intended to release the claims ultimately made in the bad

faith lawsuit.

It is a fundamental tenet of contract law that when a
writing is uncertain or ambiguous, parol or extrinsic evidence
may be admitted to explain the instrument, See, €,g., Jensen v,
Pure Plant Food Int’l, 274 N.W.2d 261 (S.D. 1979), Early in the
case Palmer talked to Bill Fuller (“Fuller”) who represented
Zurich in the Worker’s Compensation matter. Fuller told Palmer
that he had attempted to place language in the settlement agree-
ment which would have released the bad faith claim but Dennis
Finch (“Finch”), who represented the injured worker, insisted it
be removed. (Palmer Depo., p. 28). This is borne out by the
documents produced in discovery. An e-mail exchange between
Fuller and Finch over the proposed language of the settlement
agreement shows an unmistakable intent by the parties to remove
language that would have released the bad faith clain. (Ex. 16),

First, an attorney should have a good reason for plead~
ing something before they do it. In this case, based on Palmer’s
conversation with Fuller and the fact that the settlement agree-
ment was a captioned settlement in a proceeding where the
adjudicative authority had no jurisdiction to hear claims of bad
faith, pleading release as a defense would have defied reason,

Second, and maybe more important, pleading “Release” as
an affirmative defense with the knowledge that counsel for Zurich
had agreed to remove any mention of bad faith from the agreement
would have been extremely inadvisable, As indicated previously,
even Mr. Campbell admits that the language of the release, at
best, is ambiguous on the relevant issue. As a result, Zurich
could not have prevailed on a dispositive motion on this issue.
The issue would have gone to the jury and Abourezk would have
been free to call Fuller to the stand where the exchange might
have gone something like this;

Q. Mz. Fuller, who did you represent in the underlying
proceeding?

A. Zurich and their insured.

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LAW OFFIOES-RICHAROSON, WYLY, WISE, SAUGK & HIEB, LLP

Pg.

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To: Jason Sutton Date: 10/28/22

When Mr, Finch and you reached an agreement to settle
the case, who took the first crack at drafting the
settlement agreement?

I did,

In your initial draft, did you include language that
would have released any claims of bad faith against
Zurich?

Yes.

Did Mr, Leichtman sign the agreement in that form and
with that language in it?

No,
Why not?

Because his attorney, Mr. Finch, objected to me
including any language that would have released the bad

faith claims.

Does Ex, 16 include the e-mail exchange the two of you
had as you were negotiating the terms of the settlement

agreement?

Yes,
When Mr. Finch objected to including language: that

would have released, the bad faith claims, did you
remove that language from the draft agreement?

Yes,

Look at Ex. 9, Is that the agreement that you
ultimately signed on behalf of Zurich? :

Yes.

Did Zurich authorize you to sign that agreement on
their behalf?

Yes.

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LAW OFFICES-RICHAROSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 7 To: Jason Sutton Date: 10/28/22

Q. Did you make Zurich aware that you were removing the
language that would have released bad faith claims
prior to them authorizing you to sign it?

A. Yes,

Q. Did you believe, as 2urich’s attorney in that proceed-
ing, that the settlement agreement you ultimately
signed released any of the bad faith claims my client
may have had against Zurich? ,

A. No.

Q. Do you have any idea what the basis would be for your
former client to claim that Joe somehow agreed to
release his bad faith claims in that document? -

A. No.

Since Mike Abourezk is a far better trial attorney than

Iam, the exchange would have likely been even more effective
than what is illustrated above. The point is, if Palmer would
have pled “release” he would have been pleading a defense that he
would have known had no chance of Success and, more importantly,
he would have given Mike Abourezk the chance to use Zurich’s own

* former counsel to make them look like they were trying to renege
on the deal they made with his client. Not only was failing to
plead “release” not a violation of the Standard of care, it would
have been a very poor idea to raise it,

2. Failure to Plead Exhaustion of Remedies

Candidly, it. is somewhat unclear why Zurich maintains
that Palmer committed malpractice by failing to plead that
Leichtman failed to exhaust his administrative remedies. Zurich
was actually allowed to put.this issue Squarely before the Court
when it filed a dispositive motion. (Ex. 59). Unlike the motion
to amend, ultimately Magistrate Wollman addressed the issue about
whether a failure to exhaust had occurred on the merits. (Ex,
62). If Zurich somehow believes that Magistrate Wollman got it
wrong, they should have waited for Judge Viken to sustain their
objections to the report instead of paying Mike Abourezk
$2,000,000 to settle the case. Furthermore, if they believed
Judge Viken would get it wrong, they should have simply tried the
case and appealed the issue to the Eighth Circuit Court of

Appeals...

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LAW OFFICES-RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 8 To: Jason Sutton : Date: 10/28/22

In point of fact, I do not believe Magistrate Wollman
got it wrong nor do I believe that there was any good argument
that Leichtman failed to exhaust his administrative remedies. As
Magistrate Wollman pointed out, the South Dakota Supreme Court
has decided this issue and has made it Clear that a bad faith
plaintiff in the worker's compensation setting may bring their
suit for bad faith when the claim has “reached thé final stages
of the administrative process,” (Ex. 62, p. 7). This requirement
may be met by “agreement or adjudication.” (Id.) This is black
letter law in South Dakota and is, or should be, widely known to
those of us defending bad faith cases in South Dakota. Palmer’s
failure to plead “exhaustion” is not an act that deviates from
the standard of care or any duty he owed to Zurich, ‘There was no
basis for such a defense in the case,

3 Failure to Plead Res Judicata ;

_ The allegation that Palmer’s.failure to Plead res
judicata somehow evidences substandard lawyering is baffling at
best. Simply put, in order for res judicata to apply, the wrong
sought to be redressed in both actions must be the same. The
reason why res judicata should not have been pled is due to the
fact that the prior Proceeding was a Worker's Compensation
proceeding before the South Dakota Department of Labor. The
Department of Labor has no jurisdiction to award damages for bad
faith or any other theory. The Department of Labor's jurisdic-
tion in Worker's Compensation matters allows it to award
statutorily scheduled benefits. As a result, not only were the
claims for bad faith and resulting damages not made in the prior
action, they could not have been made.? Failing to plead. res
judicata would not have provided any benefit to Zurich and would
only have served to suggest to Abdourezk and the Court that
counsel for Zurich either did not know what they were doing or
were not complying with Rule 11. Neither is a good way to start

a case,

4, Failure to Plead Statute of Limitations

This allegation is almost as puzzling as the allegation
about failure to plead res judicata, Any attorney who defends
bad faith cases in South Dakota should know that the applicable
statute of limitations is six (6) years. Further, there .is

 

? This means there is no legitimate argument for claim or
issue preclusion.

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LAW GFFICES-RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 9 To: Jason Sutton Date: 10/28/22

authority from the Federal District Courts of South Dakota, which
clearly indicates that a claim for bad faith denial of workers
compensation benefits does not accrue until after the workers
compensation proceedings are complete or final, See Brennan v.
Western Nat'l Mut. Ins. Co., 125 F.Supp.2d 1152 (D,8.D, 2001),
Much like the previous allegation, failing to plead statute of
limitations would not have helped Zurich and certainly does not
constitute a failure to adhere to the appropriate standard of
care,

B) Failure to do any Research on Defenses

None of the defenses that Zurich claims Palmer should
have raised would have necessarily required Palmer to conduct
research. Palmer had plenty of experience defending worker's
compensation bad faith cases. An attorney should not bill his
client to do “research” if he or she already knows the answer to
a question. The four defenses that Zurich faults Palmer for not
asserting are not complicated principles. Contrary to Zurich's
assertion, any type of extensive research by Palmer to determine
the state of the law in South Dakota on: 1) Release, 2) Exhaus-
tion of Remedies, 3) Res Judicata, or 4) Statute of Limitations
would cause me to question whether Palmer had the requisite
knowledge or experience to defend a bad faith case.

The fact that Palmer did not do research on these
issues is not evidence of a breach of his duties to his client.
The fact that he did not do research (or have associates do it)
when he already knew what the law was shows that he does not
unnecessarily bill for services that are not needed. Further,
based upon the analysis above, even if Palmer did not know the
state of the law relating to the defenses described above, his
failure to “research” them caused no- harm to Zurich because none

of them should have been pled,

¢c) Failure to Propound Written Discovery or Take
Depositions

Palmer's failure to serve written discovery or take
depositions did not harm Zurich nor does the failure constitute
any type of malfeasance. I have defended numerous bad faith
cases in which I have not served any discovery or taken any
depositions, First, this case was filed in Federal District
court. As a result, the parties are obligated to make Initial
Disclosures and, in South Dakota, the parties customarily provide
copies of all documents that are identified as relevant to their

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LAW OFPICES-RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 10 To: Jason Sutton Date: 10/28/22

claims or defenses when those disclosures occur, It appears
Abourezk produced a number of documents as part of this process,
As a result, there was no need for Palmer to serve Requests for
Production asking the plaintiff to produce documents that were
already produced. As for interrogatories, it ig unclear what
information could be obtained from interrogatories that would
have assisted Zurich in determining how to get this case settled
early? Finally, there is no indication that a deposition of the
plaintiff would have produced any information that would have
helped Zurich better evaluate its exposure,

Zurich appears to take the position that discovery
could have been used to “challenge the claimed injuries” in
various ways or whether they could have been barred by the
statute of. limitations. Generally speaking, in the worker's
compensation bad faith cases I have defended, the defendant is
prohibited from questioning whether the underlying injury is |
actually work related. That issue is deemed resolved by virtue
of the settlement and the insurer's agreement to pay future
medical or other benefits to the Claimant. It is barred because
of the very principles of res judicata that I explained earlier.
If that is the type of evidence Zurich was hoping to uncover, it
probably wouldn't have been admitted anyway.

If Zurich is claiming they wanted Palmer to do
discovery to see if Leichtman was being compensated twice for the
same damages, that would be impossible. Abourezk was not making
any claim for medical benefits; rather, he was making a claim for
the mental anguish, pain and suffering, loss of enjoyment of
life, etc., his client suffered during the lengthy period of time
Zurich wrongly refused to pay for treatment to help him cope with
his pain. None of those damages can be obtained in a worker's
compensation proceeding. As a result, no amount of discovery
would have helped identify a potential double recovery or damages
that could have been compensated in the worker's compensation
proceeding. Abourezk clearly was not seeking them. ;

Further, doing discovery to determine whether some of
his claimed injuries “could have been barred by the statute of
limitations” shows a fundamental misunderstanding of when a claim
for worker’s compensation bad faith accrues and the damages being
sought by Abourezk in the case. Abourezk did not hide anything
with respect to his claims. He laid it out in his Complaint and
in his settlement demand letter. (Ex. 19), Suggesting that
Palmer should have done discovery to see if some of the damages
being claimed by Leichtman were barred by the statute of

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LAW OFFICES-RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 11 To: Jason Sutton Date: 10/28/22

limitations makes no sense.

Finally, Zurich claiming Palmer's failure to conduct
discovery somehow harmed it is belied by the fact that Palmer was
removed from the case as lead counsel over a year before .the
discovery deadline expired and the Hinshaw attorneys presumably
served all of the written discovery and took all of the deposi-
tions they needed to take to help Zurich get whatever information
Zurich claimed to need.?

Discovery should be done when an attorney believes he
or she needs information to assist in the defense oY prosecution
of their clients’ claims. To suggest that it must be done in
every case turns the process into a rote exercise designed to
create work and needless expense for the client. In any event,
the Hinshaw firm did all of the discovery Zurich claims Palmer
should have done and none of it produced any information that
appears to. have been relevant to the settlement of the case.

D) Failure to Make and Motions to Defend or Defeat the
Claim ;

Much like the affirmative defenses that Zurich faults
Palmer for not pleading, failing to make Specious motions with no
basis for them would not have benefitted Zurich, Zurich. made a
dispositive motion relating to the failure to exhaust defense
and, predicably, that motion failed. There were no motions
Palmer could have filed in good faith that would have “defeated”

the bad faith claim.

E) Failure to Provide Requested Evaluations to the Client
or Otherwise Inform them Sufficiently to Consider the

Settlament Offer

Palmer did not fail to provide the information sought
by Dawn Wagner (“Wagner”), To the contrary, Palmer repeatedly
tried to provide Wagner with the information she should have
needed to get this case settled early and for an amount far Lower

than what was ultimately paid.

Abourezk sent a demand letter to Palmer on 9/24/15
offering to settle the case for $325,000, with a warning that

 

3 I make this assumption since Zurich, to my knowledge, did
not sue the Hinshaw firm.

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LAW OFFICES-RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 12 To: Jason Sutton Date; 10/28/22

settlement at that number would not be available later if the
case did not settle quickly, (Ex. 19). Palmer forwarded that
letter to Wagner the next day. In a letter he informs. Wagner
about Abourezk’s credentials, how Judge Viken will likely rule in
Abourezk’s favor on the likely Motion to Compel that Wagner was
inviting, and most importantly, about Palmer’s recent history of
getting early settlements done with Abourezk and that the offer
won't likely be around “six months from now.” {Ex. 89) In
response to receiving this information, Wagner sends an e-mail to
Palmer asking him to talk to her further, According to Palmer's
billing records, both he and Attorney White had an hour long
Phone call with Wagner two days later on December 17, 2015. (Ex.
3, p. 13). If Wagner did not get the information she needed from
Palmer to help her evaluate early settlement from his letter (ex,
89), presumably she was able to ask any questions she wanted to
ask during the hour long phone call she had with Palmer and
Attorney White two days later.

Only six (6) days later, Palmer sends another letter to
Wagner and encloses a copy of a discovery decision handed down by
Magistrate Duffy relating to many of the same discovery issues ©
that Wagner and Zurich were resisting. (Ex. 22). In that same
letter, Palmer once again reiterates his belief that Wagner
should allow him to try to get the case settled, provides more
information about how Mike Abourezk approaches settlement, and
even provides an estimate- of what he thinks the case can be
settled for if he is allow to negotiate it, {Id.)

Instead of accepting Palmer’s advice and allowing him
to engage in settlement discussions. within the parameters
suggested by Palmer, Wagner sends a reply e-mail on. January 6,
2016, calling Palmer’s information “high level analysis” and
asking him to provide her with five (5) additional categorles of
information, (Ex. 23). on February 1, 2016, Palmer responds to
Wagner’s request with a detailed analysis in a five (5) page

letter. (Ex, 24).

What makes the allegation that Palmer did not provide
Wagner with information she needed to evaluate the early settle~-
ment demand by Abourezk absurd is that Zurich seems to be
intimating that, in addition to providing the information he was
equipped’to provide, Palmer should have somehow provided ‘addi-
tional information that Zurich should have and already did know.
Only twelve (12) days, after Palmer drafts the letter to Wagner
addressing the requests for information about strengths and
weaknesses of the case, Wagner has an internal meeting at Zurich

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LAW OFPIGES-RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 13 To: Jason Sutton Date: 10/28/22

with Arnold D’Angelo. The purpose of the meeting appears to be
concerns that Wagner has about certain internal performance
metrics she has reviewed. (Ex. 92), This is information that
Palmer may not have even had at that point but it is clearly
information that Palmer has told Wagner Abourezk will get (if it
exists). Whether those metrics had been produced by that point
or would have to be produced later, Wagner clearly ‘knows the
metrics exist and understands they may be problematic.‘

What Palmer knows (and Zurich arguably doesn’t) as the
South Dakota attorney hired to defend Zurich is: 1) how the
pending discovery disputes will likely be resolved; 2) how Mike
Abourezk will approach discovery and settlement; and 3) what Mike
Abourezk's track record is when it comes to litigating these
cases, Palmer provided Wagner with all of this information more
than once and made himself available to speak with her if she was
somehow unclear about anything. Virtually everything else
relevant to deciding whether to settle the case at that point is
either known or should be known by Zurich. In point of fact, it
turns out that some of what was known by Zurich that proved to be
extremely damaging evidence was known only to Zurich,

By February 17, 2016, Palmer is once again contacting
Wagner and asking her for something because he would “really like
to try and get some proposal to Abourezk” regarding settlement.
(Ex, 93). Eight (8) days later Wagner e-mails Palmer and updates
him on her efforts to pull together documents responsive to
discovery requests and informs him that she met with “senior
management to try and obtain some settlement authority.” (Ex. .
94). She then tells Palmer to reach out and try to get mediation
scheduled. (Id,) Wagner does not indicate she does not have
enough information or request any further advice from Palmer.

There appears to be no basis for the suggestion that

Palmer failed to provide any information that Zurich needed or

wouldn't have already had to evaluate the settlement offer made
on September 24, 2015,

¥) Failure, “despite repeated requests/suggestions by
Zurich/Dawn Wagner, to set up a timely mediation. to
take advantage of Plaintiff's $325,000 oase offer.”

 

‘ Wagner’s concerns about the problem those metrics may have
created for Zurich is borne out. by the testimony of Abourezk,
(Abourezk Depo., pp. 110 - 125)

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LAW OPFIGES-RICHARDSON, WYLY, WISE, SAUCK & HIEB, LLP

Pg. 14 : To: Jason Sutton Date: 10/28/22

The allegation made about Palmer's alleged dilatory
behavior as it related to scheduling mediation does not appear to
be consistent with the record of communications, Nothing Palmer
did with regard to scheduling the mediation or trying to help
Zurich settle the case violated the standard of care, The
allegation accuses Palmer of delaying for over “9 months” to set
up a médiation and “lost the opportunity to settle in the
$300,000 range that Zurich was prepared to pay.” (Plaintiffs’
Supplemental Answer to Interrogatory No. 13).

At no point prior to February 25, 2016, did Wagner or
anyone at Zurich authorize Palmer to set up a mediation. As a
result, to the extent the nine (9) month number is relevant, the
first five (5) months of delay were occasioned by Wagner failing
to authorize Palmer to make any response to Abourezk’s settlement
demand.

In point of fact, Palmer had already suggested, very
early, that Abourezk would not likely knock much off the $325,000
demand and the lowest Abourezk might go was $250,000.° Nothing
about Palmer's advice about how to get this case settled early
Suggested mediation would be a good idea. In fact, it clearly
implied the opposite.

On March 15, 2016, Palmer sent a letter to Wagner and
directly tells her that “Mike Abourezk is an.interesting
character and challenging to deal with in mediation.” (Bx. 95),
Over the course of the next month, Palmer Speaks to Lon Kouri
(widely regarded as the best mediator in South Dakota), arranges
for Wagner to speak with Kouri and Palmer, and they work on a
“strategy” for proposing mediation to Abourezk. (Ex. 3, pp. 21-
24). Ultimately, it appears that a strategy was agreed upon by
early April, 2016 and Palmer sends the Proposal to Abourezk.

(Ex. 3, p. 23), Before that happens, Palmer sends another letter
to Wagner on April 8, 2016, where he actually suggests letting
him just deal “one on one” with Abourezk, but then goes on to ;
indicate that he will set a mediation since it seems like Wagner
is more comfortable in that setting. (Ex, 25). It is apparent

 

* The author sincerely questions whether Abourezk would have
reduced his demand to $250,000 at that point. From my experience
in dealing with Abourezk, Palmer would have likely gotten him to
accept $300,000 if he approached him quickly after the letter was
sent, but anything below $300,000 seems unlikely,

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that Wagner was not interested in following Palmer's advice. Had
she done so, Zurich would have provided Palmer with the $300,000
in authority and allowed him to approach Abourezk months earlier
or even in March. Instead, Wagner insisting on using a mediation
conference to try and achieve a settlement.

It appears it is sometime in June, 2016, when Abourezk
finally agrees to mediation and a date gets set with Lon Kouri to
act as a mediator, The mediation conference is scheduled for
October 24, 2016. (Ex. 99),

The allegation that Palmer somehow breached a duty by
not getting the case to mediation sooner is inconsistent with the
facts and presupposes that this case could have been settled at
mediation for “something in the $300,000 range.”

Palmer gave Wagner exactly the. advice that an experi-
enced bad faith defense attorney in South Dakota should have
given her. When Abourezk makes an early settlement offer that is
reasonable, he will not knock much, if anything, off of it and he
won't agree to mediate. If he does agree to mediate, it is
likely that the number has gone up. Palmer told Wagner immedi-
ately that Abourezk’s low settlement offer would not likely be
around six (6) months later. He told her to give him the
authority and let him settle the case. She rejected both notions
and riow Zurich is blaming Palmer when the number went up signifi-
cantly a year later, Zurich's criticism on this point defies
logic and continues to misapprehend how Mike Abourezk handles his

cases,

G) | Palmer’s Failure to advise Zurich/Dawn Wagner of
Plaintiff's attorney’s multiple previous jury vardicts
to better inform her for settlement consideration.

One day after receiving Abourezk’s settlement demand
that Zurich claims Wagner was trying to “evaluate,” Palmer sent a
letter to Wagner with that demand that included the following

excerpts:

-- “As I think I told you by phone, Mike is a very good
lawyer. He is without question the ‘guru! of bad faith
in South Dakota and maybe even in this region,”

-- “He is smart, well-prepared, thorough and knows the
area inside and out. He knows where to look and what

to ask for.”

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(Ex. 89),

On June 10, 2016, Palmer sends a letter to Wagner and
mentions'in it that Abourezk just finished a trial where he got a
$3,750,000 verdict against Travelers, (Ex. 97). Palmer went out
of his way to try and convince Wagner that Abourezk knew what he
was doing and wag one of the best attorneys in the bad faith
business, To suggest that Palmer had to give Wagner a rundown of
Abourezk'’s trial results as part of his obligation as Zurich’s
attorney is unsupported. In fact, it simply suggests that Wagner
was either ignoring Palmer or thought she knew better. In point
of fact, if Wagner truly thought she needed to know more about
Abourezk, she could have simply typed his name into the search
engine on her computer. Most of his trial results are right on
his webpage. (Ex. 35).

H) Palmer's failure to bring an early motion to dismiss on
the legal issue of exhaustion in order to find out
early if Zurich could succeed which would have better
informed settlement discussions,

_ Once again, this allegation completely ignores what
Abourezk and Palmer were telling Zurich, The ability to settle
this case for “something in the $300,000 range” would not have
been available if Palmer would have filed such a motion. From my
experience with Abourezk, bringing a specious motion like the one
suggested above and forcing him to brief and argue the issue
would have insured that the demand would have gone up
significantly.§

I) Palmer’s “concealment” of his deniaion to taka no
discovery keeping Wagner from hiring new counsel sooner
80 new counsel could take discovery and file motions to
aid in “consideration [of] the early settlement
opportunities z

 

* Abourezk has repeatedly told me in cases I’m defending
against him that if my client is going to “jerk him around. and
make him respond to b*#*#a6*t motions, he’s -not interested. in
letting them off the hook for a bargain.” Based on my prior
experience with Abourezk and what Judge Wollman properly charac~

' terized as the settled nature of this issue, Abourezk would not
have been willing to keep the $325,000 demand on the table if

such a motion had been filed.
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Once again, Zurich refuses to acknowledge what Palmer
and I both know from experience - you cannot do discovery, file
motions AND still get the benefit of settling a case like this
one for $300,000 with Abourezk. There is no evidence Palmer
“concealed” anything and had Wagner fired Palmer sooner and done
all of the things this allegation claims she would have done, she
still would have paid $2,000,000 to settle the case because, from
my experience, I do not believe Abourezk would have kept the

offer on the table.
RESPONSE TO OPINIONS OF COLLIN CAMPBELL

Collin Campbell (“Campbell”) submitted an opinion
letter opining that Palmer violated numerous ethical rules which
he claims could have caused Zurich “to pay $1,500,000 less,”
Campbell’s opinions start by indicating that South Dakota law and
ethical rules govern Palmer’s condtct} however, he never cites
any South Dakota law in his opinion.

In Hamilton v. Sommers, the South Dakota Supreme Court
made the following statement:

‘In applying a standard of care [in attorney malpractice
cases], locality can also be considered as a factor or
special. circumstance when determining whether an-
attorney has met the standard, in an appropriate case,
suchas where local rules, practices or customs are
relevant. to claimed breach-of duty.”

2014 SD 76, % 28; 855 N.W.2d 855, 864.

The largest overall criticism I have of Campbell’ s
opinion relates to the same criticism I have of Zurich's many
claims about Palmer - none of them have ever dealt with Mike
Abourezk before. Palmer had dealt with him. Palmer was the
local attorney who had the foundation to understand how to get
the case settled and Wagner (or her superiors) refused to listen
to him or simply let him do his job, Campbell’s recitation of
the various ethical rules he claims Palmer violated is flawed by
the same lack of foundation that Zurich suffered from.

_ Fixst, Campbell accuses Palmer of violating “ER 1.1" by
failing to conduct a thorough, timely review of the evidence to
evaluate the facts, competently prepare Zurich's defenses, and
analyze litigation and settlement strategy. Although he makes
the allegation, he does not actually indicate what “facts” Palmer
failed to evaluate that would have been relevant to anything. He

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also does not identify what “defenses” could have been prepared.
As indicated previously in this Opinion, Zurich had no real
defenses; Damage'control and early settlement were its only
viable ways of keeping the number they would pay to a minimum.
Nor does Campbell spell out. what “litigation” or “settlement
strategy” he thinks Palmer failed to “analyze.” As stated. -
previously in this opinion, Palmer repeatedly told Wagner that he
wanted to try and get the case settled and provided Wagner with
all of the information he had and she did not (some of it more

than once).

Wagner refused to give Palmer all of the information he
needed even after he repeatedly told her that Abourezk would be
successful with a motion to compel, Perhaps most important,
during the timeframe when Wagner claims Palmer did not give her
enough information, the piece of information relating to Zurich's
metrics was being discussed: by her and others at Zurich and
Palmer didn’t even know about it!

Abourezk demanded $325,000, Palmer immediately told
Wagner about the demand and also told her that the offer would
not be left open for long. Palmer told her that he thought he
could get Abourezk to knock something off the number but not
much. Zurich is now claiming it was willing to pay something in
the $300,000 range, but gave Palmer zero authority. even after he
informed Wagner that he felt like he could get the case settled
if he was allowed to negotiate with Abourezk “one on one.”
Everything Palmer told his client mirrors what Tf have told
clients when I am defending cases against Abourezk.

Second, Campbell accuses Palmer of violating “ER 1,4"
by failing to timely and thoroughly review the documents and
understand the facts which led to untimely and misguided advice
regarding settlement. Once again, Campbell fails to identify
what documents Palmer failed to review, what facts he failed to
understand, or what was “untimely” about any of it. Further, the
conclusion that Palmer gave “misguided advice” regarding settle-
ment is ridiculous. Had Wagner taken Palmer’s advice the case
would have settled for $300,000 or maybe even less.

Suggesting that Palmer failing to know the weaknesses
of Zurich’s case and further failing to advise Zurich of those
weaknesses is completely inconsistent with the facts. The most
significant weakness of the case related to the metrics that
Zurich was using to evaluate its adjusters coupled with how those

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metrics worked into the bigger picture’ and Wagner already knew
about the metrics and should have known about the rest of it,
Palmer advised Wagner early on about all of the reasons why he
was recommending settlement and told her how to best go about
settling the case. Campbell seems to Suggest there was some
magic bullet hidden in the file that Palmer should have
discovered that would have allowed Zurich to pay Abourezk
Significantly less than the $325,000 he was demanding. The
problem with this suggestion is that Campbell never explains what
that bullet was nor does he explain why it would not have heen
just as effective at the point when the Hinshaw lawyers and
Wagner were “pleased” to settle the case for $2,000,000. (Glazer

Depo., p. 73).

Finally, Campbell opines that if Palmer had done his
job properly, Zurich “could have” decreased their eventual pay-
ment by more than $1,500,000, Nothing Palmer did caused Zurich
to pay more than it might have if Zurich would have listened to
Palmer early on. In fact, if Wagner would have trusted the .
attorney she hired to do the job and listened to what both Palmer
and Fuller were saying about the issues with the case, Zurich
would have saved well in excess of $1,500,000. It appears that
Zurich paid the Hinshaw firm about $750,000 to defend the case,
Zurich also paid Abourezk $2,000,000 to settle the case. If
Wagner had listened to Palmer and trusted his advice, it would
have saved well over $2,500,000 on this case.

CONCLUSION

As indicated previously, I have tried cases against
Mike Abourezk, handled cases as his co-counsel, and defended
cases against him that have settled. He is, in my opinion, the
most accomplished bad faith plaintiff's attorney in South Dakota

and likely beyond.

The following is a list of things that any defense
attorney should know if they are going to defend bad faith cases.
in South Dakota:

 

” Once again, whether Abourezk’s entire theory about the
metrics, STIP and the relationship between Zurich and certain
captive companies in the Caymans is correct, this was the part of
the case that would potentially drive the damages way up. See
(Abourezk Depo., pp. 110-125) and associated exhibits discussed

in that testimony.
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ee does not make many: Mistakes whan he takes
vases. He genérally knows enough about the case: from
his Previous experiences, his knowledge of! ‘the

sacar ee and the. trade groups he belongs to make sure
he has @ witiner before he agtees td take it on.

Pg. 20 To: Jason Sutton Date: 10/28/22

~~ Mike Abourezk understands what west good bad faith
attorneys. understand (plaintiff and defense) - to have
a good bad faith case, you need some bad faith in the
handling of the subject claim and to get a big. verdict
something on the institutional ‘sidé to show your client
isn't the énly one who has been effected.

~- . Miké Abouregk is ‘extremely honest: and proteets: his

Feputation for “keeping his. word gealously. That
includes tot backing off of a settlement demand that
he’s made in a ‘case,

wo Mike Abourezk dislikes mediation ana iss very dbificuit
£0 deal With dn that sétting,® -

Palmet knew all of this and told Wagner all. of this
information, sometimes repeatedly. Wagner did not listen to
Palmer -and, it: Snded up costing her company over $2,500, 000.
Palmer didjnot ‘breach the rélevant standard of gars; for did he- ,
violate. any ethical ruies... Unfortunately, Wagner (or hex
‘Superiors)'simply assumed: that she/they knew tere: than Palmer
about, how to deal with this case and they paid for it. As ‘the
adage goes; “Vou make the bed and. you get to lay in it.” Wagner

tlade the bed, not Palmer.

   

 

Sincerely,

ire! SY A ‘

Jack H, Hieb .

   

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JHH/ RK

 

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® One jstory that J got first hand from a defense attorney
goes like this; Mike showed up for the mediation. He walked in
Che door and told the defense attorney and the mediator, “the
numbér £8 x. The humber will not go down from X and you've got
until the end of the day to pay it.” Mike then drové aégross the
street to pick. up some things he needed at a retail store and
Left town,! Much. Tike Zurich ultimately did in thi® case, the.
aU nE De compatiy decided to pay what. he demanded...
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